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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

UNITED STATES OF AMERICA                      )
                                              )
    v.                                        )      1:19-mj-00293-JCN
                                              )
MATEO CARMELO-BARTOLO,                        )
                                              )
         Defendant                            )

                         ORDER OF DETENTION PENDING TRIAL

         Defendant appeared before this Court with counsel on September 20, 2019, and waived his

 right to a detention hearing and consented to being detained pending trial. Defendant also waived

 preliminary hearing. The Court is satisfied that Defendant's waivers were made voluntarily,

 knowingly and intelligently, and hereby accepts the same. The Court, therefore, grants the

 Government’s motion for detention. (ECF No. 5.) Accordingly, it is ORDERED that Defendant

 be detained pending trial, subject to Defendant’s ability to seek to reopen the detention hearing

 pursuant to statute as discussed on the record.

         Defendant is committed to the custody of the Attorney General or his designated

 representative for confinement in a corrections facility separate, to the extent practicable, from

 persons awaiting or serving sentences or being held in custody pending appeal. Defendant shall be

 afforded a reasonable opportunity for private consultation with defense counsel. On order of a

 court of the United States or on request of an attorney for the Government, the person in charge of

 the corrections facility shall deliver Defendant to the United States Marshal for the purposes of an

 appearance in connection with a court proceeding.

                                              /s/ John C. Nivison
                                              U.S. Magistrate Judge

Dated this 20th day of September, 2019.
